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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 NOVAFUND ADVISORS, LLC,                           No. 3:18-cv-01023 (MPS)

        Plaintiff,

        v.

 CAPITALA GROUP, LLC, et al.,

        Defendants.                                May 31, 2022

                                   JOINT STATUS REPORT
       Further to the status reports submitted by the parties on May 25, 2022, Plaintiff

NovaFund Advisors, LLC, and Defendants Capitala Private Advisors, LLC, Capitala Investment

Advisors, LLC, and Capitala Specialty Lending Corporation respectfully submit this Joint Status

Report to advise the Court that they have executed a settlement agreement to resolve the entirety

of this Action and will be filing a stipulation of dismissal pursuant to Rules 41(a)(1)(A)(ii) and

41(c) of the Federal Rules of Civil Procedure in accordance with such agreement.

                                Respectfully submitted,
 PLAINTIFF NOVAFUND ADVISORS, LLC DEFENDANTS CAPITALA PRIVATE
                                    ADVISORS, LLC, CAPITALA
                                    INVESTMENT ADVISORS, LLC, AND
                                    CAPITALA SPECIALTY LENDING CORP.

 By: /s/ Jill M. O’Toole                           By:    /s/ Jonathan M. Shapiro
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